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        2.       Chase & Co. is an American multinational investment bank and financial services

holding company incorporated in Delaware with its principal place of business in New York.

        3.       Chase Bank N.A. is a federally chartered National Banking Association that is

organized and exists under the National Banking Act, with its principal place of business located

in New York. Chase Bank is a wholly owned subsidiary of Chase & Co.

        4.       Chase engages in commercial banking across the United States and in the State of

New Jersey, including the loan application at issue with VR Consultants. Chase regularly engages

and transacts substantial business across the State of New Jersey.

        5.       This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1332(a)(1) as VR Consultants is a citizen of New Jersey, Chase is a citizen of New York and

Delaware, and the amount in controversy is greater than $75,000.00.

        6.       In the alternative, the Court has original jurisdiction over this Action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action in which: (1) at least

some members of the proposed Class have different citizenship from Defendant(s); (2) the

proposed class consists of more than 100 persons or entities; and (3) the claims of the proposed

Class Members exceed $5,000,000 in the aggregate.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the alleged claims occurred in this District

given that VR Consultants applied for the subject Paycheck Protection Program (“PPP”) loans

while in this District and Chase marketed, promoted, and took applications for the PPP loans in

this District.




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                                      FACTUAL ALLEGATIONS

                            The COVID-19 Pandemic and the CARES Act

        8.       On January 31, 2020, the Secretary of Health and Human Services declared a public

health emergency over COVID-19. On March 13, 2020, President Trump declared the COVID-19

outbreak a national emergency, beginning March 1, 2020.

        9.       In an effort to curb the spread of COVID-19, governors in many states have enacted

so-called “shelter in place” or “stay at home” orders which require residents to engage in “social

distancing.” For example, on March 21, 2020, Governor Phil Murphy issued an executive “Stay

at Home Order” in the State of New Jersey in order to slow the spread of COVID-19. These social

distancing measures include requiring certain individuals to work from home, widespread

cancellation of events, cancellation of classes (or moving in-person to online classes), reduction

of travel, and the closure of businesses.

        10.      As would be expected, the COVID-19 pandemic, as well as the social distancing

requirements enacted in response thereto, have led to a dramatic reduction in economic activity,

both globally and in the United States. On March 20, 2020, Goldman Sachs predicted the U.S.

gross domestic product would “decline by 24% in the second quarter of 2020 because of the

coronavirus pandemic”. 1 Deutsche Bank predicted the U.S. economy would shrink by 12.9% in

the second quarter of 2020. 2




1
  Reinicke, Carmen. “Goldman Sachs now says US GDP will shrink 24% next quarter amid the coronavirus
pandemic—which would be 2.5 times bigger than any decline in history”. Markets Insider.
https://markets.businessinsider.com/news/stocks/us-gdp-drop-record-2q-amid-coronavirus-recession-goldman-
sachs-2020-3-1029018308.
2
  Winck, Ben. “The worst global recession since World War II: Deutsche Bank just unveiled a bleak new forecast as
the          coronavirus          rocks         economies           worldwide”.         Markets          Insider.
https://markets.businessinsider.com/news/stocks/coronavirus-recession-worst-wwii-economic-recovery-global-
deutsche-bank-2020-3-1029012757


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        11.      To ameliorate the negative economic impact of COVID-19, the Senate

unanimously passed the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”)—

commonly known as “Phase Three” of the coronavirus economic relief packages—on March 25,

2020. On March 27, 2020, the House of Representatives passed the CARES Act by voice vote.

President Trump signed the bill into law that same day.

        12.      The CARES Act was intended to provide much needed financial support to

individuals, businesses, and hospitals in response to the economic distress caused by the COVID-

19 pandemic.

                                                    The PPP

        13.      In recognition of the important role small businesses 3 play in the U.S. economy,

the CARES Act created the PPP.

        14.      The PPP is a $349 billion loan program for small businesses suffering from the

COVID-19 pandemic which permits them to borrow money equivalent to 2.5 times their average

monthly payroll. These PPP loans are designed to enable small businesses to continue to meet

their financial obligations relative to, inter alia, (i) payroll costs, (ii) continuation of health care

benefits, (iii) employee retirement benefits, (iv) mortgage interest obligations, (v) rent, and (vi)

utilities during the COVID-19 pandemic.

        15.      Although the PPP is nominally a loan program, it is, for many small businesses, a

direct subsidy from the government. This is because the PPP largely (or entirely) eliminates the

obligation to pay back borrowed amounts through loan forgiveness, so long as a small business

uses the borrowed funds for the purposes articulated above, and does not reduce its workforce.



3
  As used in the CARES Act, the term “small business” generally refers to businesses with 500 or fewer employees,
including nonprofits, veterans organizations, tribal concerns, self-employed individuals, sole proprietorships, and
independent contractors.


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         16.      Given the PPP’s generous criteria for loan forgiveness, and the fact that PPP loans

are guaranteed by the United States Small Business Administration (“SBA”), the prospect of

obtaining a PPP loan was extremely enticing to many American small businesses. This, coupled

with the sheer size of the program, required privately owned banks to administer the PPP. In short,

under the PPP, privately owned banks, such as Chase, were responsible for processing small

businesses’ PPP loan applications and originating small businesses’ PPP loans. In exchange, these

banks earned origination fees based on the amount of each PPP loan it originated.

         17.      Specifically, (1) for PPP loans less than or equal to $350,000, a bank was to receive

a 5% origination fee, (2) for PPP loans greater than $350,000 but less than or equal to $2 million,

a bank was to receive a 3% origination fee, and (3) for PPP loans greater than $2 million, a bank

was to receive 1% origination fee.

         18.      On April 2, 2020, the SBA issued its Interim Final Rules relative to the PPP

(“Rules”). Pursuant to the Rules, the PPP was to be “first-come, first-served.” See, Rules, Section

III-2-m. 4 As such, banks, such as Chase, were required to process PPA loan applications in the

order that they were received.

         19.      The $349 billion from the PPP was fully allocated within thirteen (13) days.

         20.      On April 24, 2020, President Trump signed the Paycheck Protection Program and

Health Care Enhancement Act (“Phase 3.5”). 5 Phase 3.5 appropriated an additional $321 billion

in additional funding to replenish the PPP. The SBA resumed accepting PPP loan applications on

April 27, 2020.



4
  The Rules have yet to be published in the Federal Register, but are available on the United States Department of the
Treasury’s website at: https://home.treasury.gov/system/files/136/PPP--IFRN%20FINAL.pdf (last visited April 27,
2020).
5
   https://www.sba.gov/about-sba/sba-newsroom/press-releases-media-advisories/joint-statement-sba-administrator-
jovita-carranza-and-treasury-secretary-steven-t-mnuchin-resumption (last visited May 19, 2020)


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                                    Chase’s Administration of the PPP

        21.      The PPP application process for small businesses opened on April 3, 2020 with

Chase as one of the privately-owned banks responsible for processing PPP loan applications and

originating PPP loans.

        22.      Consistent with the Rules, Chase represented (and continues to represent) to

applicants for PPP loans that their applications would be processed and that “funds will be loaned

on a first-come, first-served basis.” 6

        23.      In reliance on Chase’s representations, hundreds of thousands of small

businesses—including Plaintiff and members of the Class (defined below)—reasonably believed

that Chase would process their PPP loan applications on a “first-come, first-served” basis and

submitted their applications as soon as they could.

        24.      However, contrary to Chase’s representations and the Rules, Chase did not process

PPP applications and distribute funds on a “first-come, first-served” basis.                     Instead, Chase

employed a two-tiered program that prioritized its wealthiest clients’ PPP applications—i.e.,

clients with at least $10 million in assets or customers who had gotten loans through JPMorgan’s

commercial bank, another subsidiary of Chase & Co. 7—before it would process PPP loan

applications from smaller, less wealthy clients—such as Plaintiff and the members of the Class.

        25.      As part of this two-tiered system, Chase’s smaller clients—such as Plaintiff and the

members of the Class—were required to submit “preliminary requests”—through a slow, backed-

up online portal, which “was only sporadically accessible”—to even have the opportunity to apply

for PPP loan applications. 8 Only after Chase approved its smaller customers’ “preliminary


6
   https://privatebank.jpmorgan.com/gl/en/insights/planning/small-business-owners-cares-act-faq (last visited April
27, 2020)
7
  https://www nytimes.com/2020/04/22/business/sba-loans-ppp-coronavirus.html (last visited April 27, 2020)
8
  Id.


                                                        6
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requests” could they actually submit PPP loan applications, and even then, were required to use

the same slow, inefficient online portal.

         26.    In contrast, Chase assigned employees to provide personalized attention and

“concierge treatment” to its wealthiest customers. 9 According to a Chase employee who “was

assigned to [Chase’s wealthiest] customers to shepherd their applications through the [PPP loan

application] process,” Chase’s wealthiest customers “never had to wait for an online portal [and]

never found themselves in a backed-up queue.” 10

         27.   This two-tiered system—where wealthy applicants were moved ahead in line—

was in place at Chase as soon as the SBA began accepting PPP loan applications. 11 In fact, shortly

before the PPP application process opened, leaders of Chase’s retail bank hosted a nationwide

conference call to provide workers with directions on how to handle customers. 12

         28.   On that conference call, Chase’s high-level managers “told branch employees who

normally dealt with customers not to get involved in the PPP application process. 13 If [small]

business owners called to ask about their [PPP loan] applications—even if they were well-known

customers—employees were to tell them not to worry, that their applications were in a queue and

would be processed as quickly as possible.” 14

         29.   In other words, Chase instructed its employees to ignore the plethora of telephone

calls and emails from long standing small business customers (who thought that their relationships

with branch managers and bankers would get them some personal help), while at the same time




9
  Id.
10
   Id.
11
   Id.
12
   Id.
13
   Id.
14
   Id.


                                                 7
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giving the kind of personal attention to its wealthiest customers that the small business banking

customers had sought but were denied.

         30.   Chase’s    employment     of   the    aforementioned    two-tiered   system—which

differentiated between Chase’s wealthiest clients and all others—was designed to ensure that

Chase would receive the greatest amount of PPP loan origination fees it could at the smallest

possible expense.

         31.   As set forth above, the amount of a PPP loan origination fee depended upon the

size of a PPP loan. The maximum origination fee Chase could earn on a PPP loan less than or

equal to $350,000 was $17,500. In contrast, if Chase originated a PPP loan for the maximum

amount of $10 million, it would earn an origination fee of $100,000.

         32.   Since Chase’s wealthiest clients sought the largest PPP loans, the origination fees

associated with those clients’ PPP loans were greater than the origination fees for the PPP loans

requested by Chase’s smaller clients. In addition, because the time and expense associated with

processing one large PPP loan application is significantly less than processing many smaller PPP

loan applications, it was more economical for Chase to process the largest PPP loan applications

first.

         33.   Moreover, because the PPP involved a limited fund of money that was supposed to

be distributed on a “first-come, first-served” basis, Chase knew that it would not be able to process

every single PPP loan application it received before the PPP’s funds were exhausted. This

incentivized Chase to process the largest PPP loan applications first because (1) it ensured that

Chase got the largest amount of origination fees it could before the first round of PPP’s funds were

depleted, and (2) after the first round of PPP’s funding was used up, it would be unnecessary for

Chase to review any more PPP loan applications, thereby reducing Chase’s costs.




                                                 8
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          34.     Put simply, Chase was able to get the most “bang for its buck” by prioritizing its

wealthiest clients’ PPP loan applications over those of its other clients.

                                      The Effect of Chase’s Practices

          35.     By processing the PPP loan applications of its wealthiest clients first—instead of

processing the PPP loan applications it received on a “first-come, first-served” basis as it promised

and was required by the Rules to do—Chase secured a greater share of the highly coveted PPP

funds allocated by Congress—to the detriment of Plaintiff and the other Class members––before

the first round of funds were exhausted.

          36.     Chase received hundreds of thousands of PPP loan applications. More than 300,000

of those PPP loan applications were submitted by customers of Chase’s business banking unit,

which serves smaller firms. About 18,000 of those 300,000 PPP loan applications submitted

between April 3, 2020 and April 16, 2020 were funded, for a 6% success rate. In contrast, nearly

all of Chase’s 8,500 larger (and sometimes more sophisticated) customers who applied for PPP

loans in the same time frame received them.

          37.     According to the SBA, Chase disbursed approximately $14 billion in loans through

the first round of the PPP, the largest figure in the banking industry. However, as a result of Chase’s

decision to prioritize its wealthier customers, Chase’s average approved loan size was

$515,304.00. This figure also led the industry by a wide margin. A table created by the SBA

reflecting these figures—Chase is “Lender 1”—is included below: 15




15
     https://www.sba.gov/sites/default/files/2020-04/PPP%20Deck%20copy.pdf


                                                       9
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money for them. As a result, Plaintiff and Class members did not receive PPP loans until at least

April 27, 2020, when Phase 3.5 was enacted.

           42.     Had Chase actually complied with its promise that “funds will be loaned on a first-

come, first-served basis” 16 and the Rules, Plaintiff’s and Class members’ PPP loan applications

would have been processed and approved before the first round of the PPP’s funding was

exhausted.

           43.     In other words, but for Chase’s failure to timely process Plaintiff’s and Class

members’ PPP loan applications—and do so in the proper, “first-come, first-served” order—

Plaintiff and Class members would have received PPP loans in the first round of funding.

           44.     Therefore, as a direct result of Chase’s unconscionable and deceptive behavior,

Plaintiff and Class members were denied PPP loans which they otherwise would have received

and were delayed access to PPP funds until at least April 27, 2020, when Phase 3.5 was signed

into law.

           45.     Second, even if Plaintiff and Class members did not submit their PPP loan

applications before several of Chase’s wealthier clients who received PPP loans, their failure to do

so was the result of Chase’s unconscionable and unfair decision to provide its wealthier clients

with individualized attention while ignoring its smaller clients—such as Plaintiff and members of

the Class. As noted above, Chase’s smaller clients—i.e., Plaintiff and Class members—were

required to submit “preliminary requests”—through a slow, backed-up online portal, which “was

only sporadically accessible”—before they were even granted the opportunity to submit their

actual PPP loan applications. Chase’s wealthier clients were not required to do so.




16
     https://privatebank.jpmorgan.com/gl/en/insights/planning/small-business-owners-cares-act-faq


                                                         11
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       46.     This two-tiered system ensured that Chase’s wealthier clients would be able to

submit their PPP loan applications first. Indeed, Plaintiff and Class members did not even have

the ability to submit PPP loan applications to Chase until after their “preliminary requests” were

granted.

       47.     In other words, Chase’s adoption and implementation of the aforementioned two-

tiered system allowed it to “stack the deck” against its smaller customers, rendering its promises

to process applications on a “first-come, first-served” basis meaningless. This guaranteed Chase

the outcome it desired, as it enabled Chase to (1) originate the largest number of large PPP loans

before the program’s funds were exhausted, and (2) avoid having to process many smaller PPP

loan applications because there was no reason to do so after the PPP’s funds had been allocated.

       48.     Even if it is technically true that Chase granted PPP loan applications on a “first-

come, first-served” basis, Chase’s conduct did not comply with the spirit of the law, evidences a

significant lack of good faith and fair dealing, and amounts to an unfair and unconscionable

business practice prohibited by law.

       49.     As a result of Chase’s unfair and unconscionable business practices, Plaintiff and

Class members were denied the meaningful opportunity to obtain a PPP loan in the first round of

funding. Indeed, even if Plaintiff and Class members entered the PPP loan application “queue” as

soon as possible, they were already behind wealthier customers who had been given the

opportunity to enter the “queue” sooner.

       50.     Third, because Plaintiff and Class members were unaware of the fact that Chase—

contrary to its affirmative representations—prioritized its wealthier clients’ PPP loan applications

over their applications, as well as Chase’s unfair and unconscionable practices—i.e., the

impediments Chase created to hinder their ability to quickly submit PPP loan applications—




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Plaintiff and Class members had no reason to suspect that it was inadvisable to submit PPP loan

applications to Chase, instead of some other lender. This is significant because, under the terms

of the PPP and the Rules, borrowers are only entitled to one PPP loan, and many banks

precondition the ability to apply for a PPP loan on the fact that a borrower has not applied for a

PPP loan elsewhere.

       51.      In other words, Plaintiff and Class members had one chance to submit a PPP loan

application. As such, whether that application would be treated fairly, and in compliance with the

law, was a material fact to Plaintiff and Class members.

       52.      Had Plaintiff and Class members known that Chase prioritized its wealthier

customers—which resulted in a decreased chance that they would receive PPP loans from Chase

through the first round of funding—Plaintiff and Class members would not have sought PPP loans

from Chase, and would have applied with other lenders.

       53.      Therefore, as a direct and proximate result of Chase’s misrepresentations and

omissions, Plaintiff and Class members were deceived into submitting what were essentially

meaningless applications to Chase instead of seeking PPP loans from other lenders. This harmed

Plaintiff and Class members because it deprived them of a meaningful opportunity to receive PPP

loans until April 27, 2020, when Phase 3.5 was signed into law, and caused them to incur the

costs—i.e., their time, expenses, etc.—associated with completing meaningless PPP loan

applications.

                              FACTS RELATIVE TO PLAINTIFF

       54.      VR Consultants has been banking with Chase for over ten years as one of Chase’s

“Premier Business” clients.




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        55.    VR Consultants is a small information technology consulting outfit specializing in

providing quality information technology solutions and management consulting to all industry

verticals.

        56.    Prior to the COVID-19 pandemic, VR Consultants projected a gross annual revenue

of $220,000. Due to the pandemic, VR Consultants now anticipates a seventy percent (70%)

decrease in revenue effective May 2020. VR Consultants’ billable hours have already been cut for

April 2020, and with the anticipated seventy percent (70%) drop in revenue, VR Consultants will

be forced to completely eliminate its payroll and staff as well as any prospects of business

expansion. VR Consultants relies heavily on travel to visit prospective clients and meet with them

to obtain new business. With the current travel restrictions in place, it is nearly impossible for VR

Consultants to generate new business.

        57.    On April 2, 2020, Chase sent VR Consultants e-mail correspondence advising how

Chase would “announce” when Chase could start accepting PPP applications. A true and accurate

copy of the email is attached as Exhibit #1.

        58.    On April 9, 2020, at approximately 9:35 p.m.—6 days after Chase began accepting

PPP loan applications from its wealthier clients—Chase sent VR Consultants the confirmation

email that Chase was now ready to begin accepting applications for the PPP program. A true and

accurate copy of the email is attached as Exhibit #2.

        59.    That same evening, on April 9, 2020, VR Consultants submitted its complete PPP

application to Chase. Chase used an automated loan calculator which was based on Plaintiff’s

monthly payroll. For VR Consultants, Chase calculated a loan amount of $27,500.00.




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       60.     At the time Plaintiff submitted its PPP loan application to Chase, Plaintiff was

qualified for, and was entitled to receive, a PPP loan. This was readily apparent from the face of

Plaintiff’s PPP loan application.

       61.     Plaintiff submitted its PPP loan application on the first day Chase permitted it to do

so. Had Chase permitted Plaintiff to submit its application earlier—e.g., on April 3, 2020—

Plaintiff’s application would have been submitted that same day. In other words, had Plaintiff

been given the same opportunities that Chase’s wealthier clients were given relative to submitting

PPP loan applications, Plaintiff’s application would have been submitted much sooner.

       62.     Nevertheless, on information and belief, Plaintiff submitted its PPP loan application

to Chase before at least one of Chase’s wealthier clients who received a PPP loan.

       63.     Two days later, on April 11, 2020, Chase sent VR Consultants an email confirming

receipt of the PPP application and advising Plaintiff “you’ll receive your loan decision by email

from Chase soon.” A true and accurate copy of the email is attached as Exhibit #3.

       64.     On April 17, 2020, Chase sent VR Consultants an email which indicated “we have

learned the SBA has approved loans that will exhaust all the funding available for the initial

round.” A true and accurate copy of the email is attached as Exhibit #4.

       65.     On April 19, 2020, Chase provided VR Consultants with its first substantive update

regarding VR Consultants’ PPP application. Chase advised that the application was in “Stage 1,

Application received,” and Chase indicated that there were more than 100,000 applications ahead

of VR Consultants at Chase. A true and accurate copy of the email is attached as Exhibit #5.

       66.     On May 1, 2020, four (4) days after Phase 3.5 was signed into law, Chase advised

VR Consultants that its SBA PPP loan request was approved. A true and accurate copy of the

email is attached as Exhibit #6.




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           67.     In reliance upon Chase’s promises that it would process PPP loan applications on

a “first-come, first-served” basis, Plaintiff chose to submit its one and only application to Chase.

Had Plaintiff known that these representations were false, Plaintiff would not have sought a PPP

loan from Chase, and would have applied with another lender.

           68.     Similarly, had Plaintiff been aware that Chase had adopted the aforementioned two-

tiered approach to processing PPP loan applications, and of the resulting decreased probability that

it would be approved for a PPP loan, Plaintiff would not have sought a PPP loan from Chase, and

would have applied with another lender.

           69.     Had Chase actually complied with its promise that “funds will be loaned on a first-

come, first-served basis” 17 and the Rules, Plaintiff’s PPP loan application would have been

processed and approved before the PPP’s initial round of funding was exhausted.

           70.     Plaintiff’s application also would have been processed and approved before the

PPP’s funding was exhausted had Chase permitted Plaintiff to submit its PPP loan application

sooner—e.g., on April 3, 2020.

           71.     As a direct and proximate result of Chase’s conduct described herein, VR

Consultants was deprived of a meaningful opportunity to obtain a PPP loan through the initial

round of funding, from either Chase or another lender, and was unable to obtain a PPP loan that it

otherwise would have obtained until Phase 3.5 was enacted.

           72.     Had Plaintiff timely received the PPP loan to which it was entitled (and would have

timely obtained but for Chase’s acts and omissions described herein), it would have been able to

maintain its business operations at levels similar to those present before the COVID-19 pandemic.

However, because Plaintiff did not receive the PPP loan it requested, its billable hours for the



17
     https://privatebank.jpmorgan.com/gl/en/insights/planning/small-business-owners-cares-act-faq


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month of April 2020 were reduced, resulting in decreased revenue (as exemplified below). Plaintiff

also was unable to generate new business and conduct regular promotional activities and travel

during April 2020, which has, and will continue to, result in further decreased revenue.

        73.      The delay and deprivation of desperately needed funds has caused irreparable injury

to Plaintiff in the form of revenue and clients lost that it will never be able to recoup. VR

Consultants’ clients rely on timely delivery of these IT solutions based on an agreed Statement of

Work (the “SOW”). If VR Consultants is unable to provide any crucial project deliverables by the

dates outlined in the SOW, VR Consultants faces heavy consequences. VR Consultants’ highest

profile and oldest client is Client X 18. VR Consultants was in the midst of a major project for Client

X that was due for final delivery during the month of April 2020 (the “Project”). A member of VR

Consultants’ staff who was on payroll was the primary resource in implementing and delivering

the Project to Client X as only this team member possessed the knowledge required to service

Client X and bring the Project deliverable to completion prior to the SOW’s April 30, 2020

deadline. Due to VR Consultants’ inability to make payroll for the second half of April 2020, VR

Consultants was forced to furlough this staff member who was responsible for delivering the

Project to Client X. As a result, Client X was dissatisfied with VR Consultants’ service and delayed

payment until the work was completed. However, the work could not be completed until VR

Consultants was able to bring this member back on payroll. Due to the delays in delivering the

Project to Client X, Client X cut off all commitments for any future business with VR Consultants,

removing a significant source of future potential revenue for it.




18
   The name of the client is anonymously denoted as Client X in order to prevent any (further) damage to the business
relationship between VR Consultants and Client X beyond the damage that Chase caused.


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                                    CLASS ALLEGATIONS

                                    Proposed Class Definition

       74.     Class Definition: Pursuant to Fed. R. Civ. P. 23, Plaintiff brings this action,

individually, and on behalf of a class of similarly situated individuals and entities (the “Class”),

defined as follows:

       All persons and business entities in the State of New Jersey who (1) met the criteria
       for eligibility and were not otherwise ineligible between February 15, 2020 and
       June 30, 2020 for a PPP loan; (2) applied for a PPP loan through Chase; and (3) did
       not receive a PPP loan between April 3, 2020 and April 27, 2020.

       Excluded from this Class are: (1) Defendants, Defendants’ agents, subsidiaries,
       parents, successors, predecessors, and any entity in which Defendants or its parents
       have a controlling interest, and those entities’ current and former employees,
       officers, and directors; (2) the Judge to whom this case is assigned and the Judge’s
       immediate family; (3) any person who executes and files a timely request for
       exclusion from the Class; (4) any persons who have had their claims in this matter
       finally adjudicated and/or otherwise released; and (5) the legal representatives,
       successors and assigns of any such excluded person.

       75.     Numerosity and Ascertainability: The Class is so numerous that joinder of all

members is impracticable, as it is likely comprised of thousands of self-employed persons and

businesses. Indeed, as of April 16, 2020, 33,519 PPP loans were approved in New Jersey. Given

Chase’s PPP loan approval rate of approximately 6% for smaller business, such as Plaintiff and

members of the Class, the number of individuals whose PPP applications were not granted is

significantly higher. Class members can easily be identified through Chase’s records, as they all

would have submitted PPP loan applications—which contain their names, contact information,

etc.—to Chase.

       76.     Commonality and Predominance: There are common questions of law and fact

subject to answers common to all Class members that predominate over any questions affecting

only individual members, including but not limited to:




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            a.    Whether Chase complied with applicable SBA Rules in processing and

                  granting PPP loan applications in New Jersey;

            b.    Whether Chase had a policy and/or practice of prioritizing large PPP loans

                  to larger, wealthier businesses;

            c.    Whether Chase processed PPP loan applications on a “first-come, first-

                  served” basis, as it represented and was required by law to do;

            d.    Whether Chase made false representations regarding the PPP loan

                  application process;

            e.    Whether Chase committed unconscionable business practices by processing

                  PPP loan applications in an order other than “first-come, first-served”;

            f.    Whether Chase committed unconscionable business practices by adopting

                  a two-tiered system that prioritized its wealthier customers’ PPP loan

                  applications over Plaintiff’s and Class members’ applications;

            g.    Whether the nature of the PPP application process created a duty on the part

                  of Chase to disclose material information relating to the PPP loan

                  applications;

            h.    Whether Chase actively concealed and misrepresented material facts that

                  the loan applications were not being processed on a “first-come, first-

                  served” basis and that it was prioritizing its preferred clients;

            i.    Whether Chase concealed or misrepresented material facts with knowledge

                  of the fact’s materiality and falsity and/or with such utter disregard and

                  recklessness as to infer knowledge of its falsity; and




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               j.      Whether Chase’s conduct constituted an unconscionable commercial

                       practice,   deception,    fraud,    false   pretense,   false   promise,    or

                       misrepresentation under the New Jersey Consumer Fraud Act, N.J.S.A. §

                       56:8-1, et seq.;

               k.      Whether Chase’s conduct constituted the knowing, concealment,

                       suppression, or omission of any material fact with intent deception under

                       the New Jersey Consumer Fraud Act, N.J.S.A. § 56:8-1, et seq.;

               l.      Whether Plaintiff and Class members had a protectable interest in the proper

                       processing of their PPP loan applications and/or receiving PPP loans;

               m.      Whether Chase’s acts and omissions described herein constitute malice;

               n.      Whether there is a reasonable likelihood that Chase’s actions and

                       misrepresentations caused Plaintiff and Class members to lose the ability to

                       meaningfully apply for, and receive, PPP loans;

               o.      Whether Chase tortuously interfered with Plaintiff’s and Class members’

                       prospective economic advantage (i.e., their ability to meaningfully apply

                       for, and receive, PPP loans); and

               p.      Whether Class members are entitled to damages and the measure of such

                       damages.

       77.     Typicality: Plaintiff’s claims are typical of the Class because Plaintiff and all Class

members were deceived by Defendants’ unfair, unlawful, and fraudulent PPP loan application and

approval practices, as alleged herein. Moreover, the factual and legal bases of Defendants’ liability

to Plaintiff and each Class member are substantially similar. Indeed, Plaintiff and Class members




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were each harmed in the same way as a result of Defendants’ actions and misrepresentations

described herein.

        78.     Adequacy of Representation: Plaintiff will fairly and adequately protect the

interests of the Class. Plaintiff has no interest that is antagonistic to those of the Class and is ready

and willing to bring this class action in a representative capacity on behalf of the Class.

        79.     Moreover, as set forth below, Plaintiff’s counsel will fairly and adequately

prosecute the case on behalf of Plaintiff and the Class.

        80.     The Dann Law Firm, PC has experienced trial attorneys who have engaged in

extensive trial practice and have considerable experience in all aspects of class and mass tort

litigation from several other class action and mass tort cases, including class action and mass tort

cases against lenders and loan servicers. The Dann Law Firm, PC has the necessary skills,

expertise, and competency to adequately represent Plaintiff’s interests and those of the class.

        81.     Zimmerman Law Offices, P.C. has experienced trial attorneys with decades of

experience in prosecuting class actions, such as this, throughout the nation, including class actions

against lenders and loan servicers.

        82.     Denbeaux and Denbeaux has extensive experience litigating claims under the New

Jersey Consumer Fraud Act and possesses the necessary skills, expertise and competency to

adequately represent Plaintiff’s interests and those of the Class.

        83.     Law Offices of Lee Perman have represented consumers and small businesses for

decades, and are experienced federal court litigators.

        84.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy. The expense and burden of individual litigation would




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make it impracticable or impossible for proposed members of the Class to prosecute their claims

individually. The trial and the litigation of Plaintiff’s claims are manageable.

                                        COUNT ONE
                VIOLATION OF N.J.S.A § 56:8-2, THE CONSUMER FRAUD ACT
                       (On behalf of the Class Against All Defendants)

          85.     Plaintiff restates paragraphs 1 through 84 in their entirety, as if fully rewritten

herein.

          86.     Plaintiff asserts this cause of action on behalf of itself and the Class.

          87.     The New Jersey Consumer Fraud Act (hereinafter “CFA”) prohibits:

                  The act, use or employment by any person of any unconscionable
                  commercial practice, deception, fraud, false pretense, false promise,
                  misrepresentation, or the knowing concealment, suppression, or
                  omission of any material fact with intent that others rely upon such
                  concealment, suppression or omission, in connection with the sale
                  or advertisement of any merchandise or real estate.

N.J.S.A. § 56:8-2.

          88.     The term “unconscionable” under the CFA implies a lack of good faith, honesty in

fact and observance of fair dealing.

          89.     Chase committed an “unconscionable commercial practice” by subverting both the

process and the intent of PPP loans through prioritizing large borrowers to the detriment of the

small business applicants the funds were intended to support, like Plaintiff. Further, Chase unfairly

made false and deceptive representations to PPP applicants and the public about the process which

unfairly induced applicants to apply with Chase. Inducing a greater volume of PPP applicants was

to the financial benefit of Chase and at the expense of Plaintiff and the other Class members, as

Chase would have a greater number of wealthy customers’ applications to process which would

earn Chase large application fees.




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       90.     Chase’s acts and practices were unconscionable because Chase was required to

process the PPP loan applications of Plaintiff and the other Class members fairly on a “first-come,

first-served” basis, but failed and refused to do so. Chase caused Plaintiff and the other Class

members to submit PPP loan applications that were placed unfairly and unconscionably at the back

of the line. Chase prioritized its own profits over compliance with the rules of the CARES Act.

       91.     The gravity of the harm to members of the Class resulting from these unlawful acts

and practices outweighed any conceivable reasons, justifications, and/or motives that Defendants

had—in this case the desire to profit from PPP loans—for engaging in such deceptive acts and

practices. By committing the acts and practices alleged above, Defendants engaged in unlawful

business practices within the meaning of the CFA, N.J.S.A. § 56:8-1, et seq.

       92.     Unlawful conduct under the CFA includes “deception, fraud, false pretense, false

promise, misrepresentation.”

       93.     As set forth above, Chase committed deception, fraud, false pretenses, false

promises, or misrepresentations about the loan approval process and the “focus” and “priorities”

of the bank in processing and funding PPP loans. Chase’s representations were made with the

intent to generate public good will and to induce consumers, such as Plaintiff and the other Class

members, to reasonably rely on those representations and choose Chase when making a decision

about who to make their PPP loan application through.

       94.     Chase’s acts and practices as described herein deceived Plaintiff and the Class and

were highly likely to deceive members of the consuming public. Plaintiff would not have applied

for a PPP loan through Chase had Plaintiff been aware that Chase would unconscionably and

unfairly place his application in the “back of the line.” Had Plaintiff and the other Class members

applied at a different bank, they could have obtained PPP funding in a more timely manner, or at




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least maintained their proper place in line as required by the applicable Rules. Accordingly,

Plaintiff and each member of the Class have suffered ascertainable loss as a direct result of Chase’s

practices described above.

                                          COUNT TWO
                               FRAUDULENT CONCEALMENT
                          (On behalf of the Class Against All Defendants)

          95.    Plaintiff restates paragraphs 1 through 84 in their entirety, as if fully rewritten

herein.

          96.    Plaintiff asserts this cause of action on behalf of itself and the Class.

          97.    Due to the nature of the transaction and contemplated contract between them,

Defendants owed a duty to Plaintiff and the Class to reasonably disclose facts material to that

transaction and to not hide or obscure facts material to that transaction.

          98.    At all relevant times, Defendants possessed and had exclusive knowledge of

material facts not known to the Plaintiff and Class members, i.e., knowledge of how the PPP

applications were processed. Specifically, Chase prioritized large businesses borrowing large

amounts of money instead of processing applications on a first-come, first-served basis.

          99.    At all relevant times, Defendants actively concealed those material facts from the

public and their PPP loan applicants, by intentionally omitting to disclose such facts and by

intentionally misleading Plaintiff and the Class with affirmative statements that were not true.

          100.   Even if Defendants made some partial representations, Defendants still made

efforts to suppress material facts and did not fully disclose and contextualize the material facts

known only to them.

          101.   Plaintiff and the Class reasonably relied on Defendants’ representations in choosing

to apply for a PPP loan with Chase.




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          102.   As a direct result of Defendants’ fraudulent concealment of facts material to the

PPP loan application transaction, Plaintiff and the Class were induced to apply with Chase and as

a proximate result suffered economic and financial harm to be proven at trial.

                                         COUNT THREE
                                 TORTIOUS INTERFERENCE
                          (On behalf of the Class Against All Defendants)

          103.   Plaintiff restates paragraphs 1 through 84 in their entirety, as if fully rewritten

herein.

          104.   Plaintiff asserts this cause of action on behalf of itself and the Class.

          105.   Under New Jersey law, “the tort of interference with a prospective economic

advantage (tortious interference) contains four elements: (1) a protectable interest; (2) malice, the

defendant’s intentional interference without justification; (3) a reasonable likelihood that the

interference caused the loss of a prospective gain; and (4) resulting damages.” E.g., D’Agostino

v. Gesher LLC, 2014 WL 7475209, at *5 (N.J. Super. Ct. App. Div. 2015).

          106.   As set forth above, a key component of the CARES Act was the creation of the

PPP. Under the PPP, small businesses—such as Plaintiff and members of the Class—had a legally

protectable interest in applying for, and obtaining, PPP loans.

          107.   Chase’s acts, misrepresentations, and omissions described herein deprived Plaintiff

and Class members of their legally protectable interest in applying for, and obtaining, PPP loans

on a “first-come, first-served” basis. In doing so, Chase acted with malice because it violated the

express provisions of the Rules, and engaged in unfair and unconscionable business practices to

deprive Plaintiff and Class members of a meaningful opportunity to apply for, and obtain, PPP

loans on a “first-come, first-served” basis.




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       108.    As a result of Chase’s acts and practices as described herein, Plaintiff and the Class

members were deceived into submitting PPP loan applications to Chase that had no chance of

being timely granted, in lieu of seeking PPP loans from other lenders. Had Plaintiff and the other

Class members applied at a different bank, they would have had a significantly more meaningful

opportunity to timely obtain, and/or would have timely received, PPP funding during the initial

round of funding.

       109.    Chase’s acts and omissions described herein delayed Plaintiff’s and Class

members’ ability to obtain PPP loans, which in turn caused Plaintiff and Class members to reduce

their workforce and their capacity to service their clients/customers. As set forth above, Plaintiff

and Class members were harmed as a result of this delay and the consequences thereof.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff VR Consultants, Inc., individually, and on behalf of all others

similarly situated, prays that this Court enter an order granting judgment against Defendants JP

Morgan Chase & Co. and JP Morgan Chase Bank, N.A., jointly and severally, for the following:

               A.      Finding that this action satisfies the prerequisites for maintenance as a class
                       action set forth in Fed. R. Civ. P. 23, and certifying the Class defined herein;

               B.      Designating Plaintiff as representative of the Class and its undersigned
                       counsel as Class Counsel;

               C.      Entering judgment in favor of Plaintiff and the Class and against
                       Defendants;

               D.      Awarded Plaintiff and the Class members actual damages, statutory
                       damages, and punitive damages, as allowed or required by law;

               E.      Awarding Plaintiff and the Class attorneys’ fees and costs, including
                       interest thereon, as allowed or required by law; and

               F.      Granting all such further and other relief as the Court deems just and
                       appropriate.




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                                   Respectfully submitted,

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                                        JURY DEMAND

      Plaintiff hereby requests a trial by jury on all issues.


                                                      Javier L. Merino
                                                      Javier L. Merino
                                                      The Dann Law Firm, PC




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